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                   17
                                                   UNITED STATES DISTRICT COURT
                   18
                                                NORTHERN DISTRICT OF CALIFORNIA
                   19
                                                        SAN FRANCISCO DIVISION
                   20
                        RICHARD KADREY, et al.,                         Case No. 3:23-cv-03417-VC-TSH
                   21
                           Individual and Representative Plaintiffs,    DEFENDANT META PLATFORMS, INC.’S
                   22                                                   RESPONSE TO COURT’S DISCOVERY ORDER
                               v.                                       OF DECEMBER 4, 2024 [DKT. 305]
                   23
                        META PLATFORMS, INC., a Delaware
                   24   corporation;
                   25                                   Defendant.
                   26

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COOLEY LLP
ATTORNEYS AT LAW                                                                  DEF’S META’S RESPONSE TO COURT’S
                                                                                 ORDER OF DECEMBER 4, 2024 [DKT 305]
                                                                                             3:23-CV-03417-VC-TSH
                        Case 3:23-cv-03417-VC          Document 331          Filed 12/11/24     Page 2 of 3



                    1          Pursuant to the Magistrates Judge’s Order on December 4, 2024 (Dkt. 305), Defendant Meta

                    2   Platforms, Inc. (“Meta”) hereby submits as the attached Exhibit 1 an unredacted copy of Exhibit C

                    3   (Dkt. 260-5) to Plaintiffs’ Administrative Motion to Consider Whether Another Party’s Material

                    4   Should Be Sealed filed on November 8, 2024 (Dkt. 260).

                    5          Further, Meta hereby submits as the attached exhibits below revised copies of Exhibits D-

                    6   F to Plaintiffs’ Administrative Motion to Consider Whether Another Party’s Material Should Be

                    7   Sealed filed on November 8, 2024 (Dkt. 260) with narrowly tailored redactions:

                    8          o       Exhibit 2: a revised copy of Exhibit D (Dkt. 260-6)

                    9
                               o       Exhibit 3: a revised copy of Exhibit E (Dkt. 260-7)
                   10
                               o       Exhibit 4: a revised copy of Exhibit F (Dkt. 260-8)
                   11
                               Meta respectfully submits that good cause exists for the submission of the identified
                   12
                        portions of these documents under seal for the reasons set forth in its earlier-filed Declaration of
                   13
                        Michelle Woodhouse (Dkt. 282) in support of Plaintiffs’ Administrative Motion to Consider
                   14
                        Whether Another Party’s Material Should Be Sealed filed on November 8, 2024 (Dkt. 260). Meta
                   15
                        respectfully requests that the Court order sealed the redacted portions of revised Exhibits D-F.
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                                                             [Signature page follows.]
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COOLEY LLP
ATTORNEYS AT LAW                                                                          DEF’S META’S RESPONSE TO COURT’S
                                                                         1               ORDER OF DECEMBER 4, 2024 [DKT 305]
                                                                                                     3:23-CV-03417-VC-TSH
                        Case 3:23-cv-03417-VC       Document 331       Filed 12/11/24       Page 3 of 3



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                    2   Dated: December 11, 2024                       COOLEY LLP

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   PALO ALTO                                                       2                 ORDER OF DECEMBER 4, 2024 [DKT 305]
                                                                                                      3:23-CV-03417-VC
